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                               UNITED STATES DISTRICT COURT
                                          FOR THE
                                DISTRICT OF NEW HAMPSHIRE


  CARL ALEXANDER COHEN,

                  Plaintiff,

  v.

  BOSTON SCIENTIFIC CORPORATION D/B/A                            Docket No. 1:20-CV-00943-PB
  AMERICAN MEDICAL SYSTEMS, REPUBLIC
  SURGICAL MEDWORX, INC., (MISNAMED),
  ALEX MUCHATI, JOHN DOES 1-10, AND JOHN
  DOE ENTITIES 11-20. ,

                  Defendants.



         DEFENDANTS MEDWORX, INC.’S, REPUBLIC SURGICAL, INC. AND
         ALEX MOUCHAIT’S INITIAL DISCLOSURES PURSUANT TO FED. R.
                              CIV. P. 26(A)(1)


        Pursuant to Fed. R. Civ. P. 26(a)(1), the defendants, Medworx, Inc. Republic Surgical, Inc.

and Alex Mouchati, make the following initial disclosures. By disclosing the information and

documents described herein, the defendants do not waive any grounds to object to the

discoverability or admissibility of any document, and specifically reserve their rights to object on

any grounds to their production and/or admission into evidence. Moreover, by making these

disclosures, the defendants do not represent that they are identifying every individual, document,

or tangible thing upon which they may rely to support their claims or defenses. Rather, the

defendants disclosures represent their good faith effort to identify information as required by Fed.

R. Civ. P. 26(a)(1).




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I.      INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION
        (RULE 26(a)(1)(i))


        The following individuals are likely to have discoverable information that the defendants

may use to support their claims and defenses:

        1. The plaintiff, Carl Alexander Cohen. Mr. Cohen will have information about the medical

procedure at issue in this litigation and his alleged injuries as a result of that procedure.

        2. Members of the medical team that participated in the procedure at issue including but

not limited to Dr. Shilpa Lamba, 10 Members Way, Suite 402, Dover, New Hampshire 03820.

These individuals will have information about the medical procedure at issue in this case.

        3. Representatives from Boston Scientific Corporation, represented by Faege Drinker

Biddle & Realth LLP, 801 Grand Avenue, 33rd Floor, Des Moines, IA 50309 and Bernstein Shur

Law Firm, 670 North Commercial Street, Ste. 108, P.O. Box 1120, Manchester, NH 03105. These

individuals will have information regarding the device used during the procedure in question.

        4. Any person disclosed by another party to this action

        5. Expert witnesses to be disclosed in accordance with Fed. R. Civ. P. 26(a)(2)

II.     DESCRIPTION AND LOCATION OF DOCUMENTS AND THINGS IN THE
        POSSESSION, CUSTODY, OR CONTROL OF DEFENDANT THAT IT MAY USE
        TO SUPPORT ITS DEFENSES (RULE 26(a)(1)(ii))

        1. Contract for services with Wentworth-Douglas Hospital

        2. Food and Drug Administration Pre-Market Approval documents

        3. The laser device used during the plaintiff’s procedure

        4. Maintenance records and manual(s)

        5. BSI Mobile Provider Service Agreement(s) and addenda.

III.    COMPUTATION OF DAMAGES (RULE 26(a)(1)(iii))



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        The defendant is not claiming any damages against the plaintiffs in this matter.

IV.     INSURANCE AGREEMENT (RULE 26(a)(1)(iv))

        Republic Surgical, Inc. and Medworx, Inc. are named insured’s on a general liability policy

issued by Evanston Insurance Company (Policy Number MKLV1PPD000259). A copy of the

policy’s declaration’s page has been provided to all parties. The defendants make no affirmation

of coverage.




                                                 Respectfully submitted,

                                                 REPUBLIC SURGICAL,INC, MEDWORX,
                                                 INC, AND ALEXANDRE MOUCHATI

                                                 By Its Attorneys,

                                                 MORRISON MAHONEY LLP


                                            By /s/ William Joseph Flanagan
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served on the following persons on this
date in the manner specified herein:

Electronically Served:

Edward J. Sackman, NH Bar No. 19586
Berstein, Shur, Sawyer and Nelson, P.A.
Jefferson Mill Building
670 North Commercial Street, Ste. 108
P.O. Box 1120
Manchester, NH 03105

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  December 18, 2020                      /s/ William Joseph Flanagan
                                         William Joseph Flanagan, #17287




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